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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                     MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                     SECTION: J
                                               ]
                                               ]                     Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                     Mag. Judge Wilkinson
                                               ]

                      SWORN DECLARATION OF DONALD PEARSON

         Pursuant to 28 U. S. C. § 1746 Donald Pearson declares the following:

         1.      “My name is Donald Pearson. The facts contained in this declaration are within

my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from June 28,

2010 to December 22, 2010. O’Brien’s initially assigned me to work in Fairhope, Alabama and

later in the command center in Mobile, Alabama and Pensacola, Florida.           My duties were to

assist O’Brien’s in monitoring personnel, equipment and supplies used in the cleanup response to

BP’s Deepwater Horizon oil spill in April 2010.

         3.      I supervised cleanup personnel and cleanup activities at onshore beach sites and

near-shore sites. It was one of my responsibilities to ensure cleanup was being done in a safe

manor at these sites and track where personnel and equipment were being deployed.

         4.      It was also my responsibility to determine and report progress being made in the

cleanup effort including where, when and how much oil, tar and sand was being removed from

the sites under my supervision.

         5.      My last position with O’Brien’s was Operations Manager. I supervised a heavy

equipment beach cleanup crew. It was my job to fill out daily reports and keep a crew count. I




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                                                                                           Ex. 10
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also attended daily meetings to explain what we picked up or deployed each day and the

equipment we needed.

        6.     O’Brien’s treated me as an independent contractor from the time I began work on

June 28, 2010 until I was demobilized on December 24, 2010.

       7.      Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

       8.       O’Brien’s established my and the other Spill Workers’ compensation and initially

instructed me as to my daily duties.    Later, under O’Brien’s direction, my daily duties were

dictated by senior command staff and the incident command system.

                                            Hours Worked

       9.       During my employment, the other Spill Workers and I typically worked seven

days per week. I initially worked more than a month without a day off.

       10.     The other Spill Workers and I regularly worked 12 hour shifts.

       11.     Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from August 2, 2010

to August 8, 2010. I worked twelve hours each of these days. See Exhibit 1.

                                              Pay

       12.         When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I

would be paid “$500 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.




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        13.    Throughout my employment with O’Brien’s, I was paid $500 per day. This

amount did not increase if I worked more than my scheduled hours.

        14.    O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                             Control

        15.    O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because an O’Brien’s employee, hired me over the phone. Just before reporting to work in

Fairhope, another O’Brien’s employee sent me O’Brien’s hiring documents and employment

policies.

        16.    When I was hired, my supervisor, Bud Klein who was also employed by

O’Brien’s, told me how to do my job.

        17.    O’Brien’s controlled the performance of our work in all the locations to which I

was assigned. For example, I had regular meetings with O’Brien’s personnel, BP personnel, and

local, state and federal officials including Coast Guard personnel . In these meetings, the other

Spill Workers and I were given instructions regarding our daily tasks and job performance from

the command staff and the incident command system.

        18.    Initially, Klein required me to deliver daily reports detailing equipment, supplies

and personnel being used and progress being made picking up oil, tar and sand. I later submitted

these reports to the incident command system.

        19.    O’Brien’s, through its own supervisors initially and later through the incident

command system and senior command staff, directed the information I was to track and how I

was to report it. They provided instruction on how to fill out the report forms I completed.




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        20.     The other Spill Workers and I were required to scan our electronic badges in and

out upon each entry and departure from work sites and boats. These badges said “O’Brien’s” on

them. We were required to wear them around our necks so they would always be visible to the

guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

I initially worked a month with no time off. Later when I requested time off, the requests would

have been approved by Jerry Smith or scheduled after consultations between myself and other

O’Brien’s employees.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we were subject to possible random drug and alcohol testing.

        24.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.     The Spill Workers and I were not allowed to hire employees to help us with our

work.

        26.     O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.




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       27.     I was let go or “demobilized” on December 22, 2010 and up until that time, I was

always treated as an independent contractor.

       28.     Just before I was let go, or “demobilized,” I was to report to demobilization.

After being demobilized, I returned home because I no longer had work or lodging in Pensacola

where I last worked for O’Brien’s.

                                            Investment

       29.     The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, we were provided with the equipment we used, including printers,

scanners, hard hats, safety vests, safety glasses, shirts and hats. O’Brien’s typically reimbursed

us for our personal cell phones, travel expenses, mileage and lodging.

                                     Special Skill or Expertise

       30.     O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or formal training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received no formal training after being hired. I

found out about employment with O’Brien’s through my friend, Duane Miller who is an

O’Brien’s employee. Based on his recommendation, I was contacted by O’Brien’s and after a

short phone interview, I was offered a job. Less than a week later, I was in Fairhope receiving

instructions from Klein.

       31.     The other Spill Workers and I did not receive significant official or formal

training to perform our jobs with the exception of brief hazardous material training. Instead, we

learned how to perform our duties on the job. For example, I learned on the job how to fill out

report forms and what information I was required to track about the cleanup equipment.

                                  Interest in a Collective Action




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       32.     Based on my experience working with O’Brien’s and my communications with

other Spill Workers, I know other spill workers are interested in joining a collective action to

recover their unpaid overtime. In fact, some of the Spill Workers I spoke to have since joined

this collective action, including David Barnes and Vincent Soderland. Furthermore, every Spill

Worker with whom I have discussed this case has expressed a desire to join.

       33.     I declare under penalty of perjury that the foregoing is true and correct.”


                 11 2012.
Signed on July ____,

                                                         /s/ Donald R Pearson
                                              ____________________________________
                                              Donald Pearson




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                                                                         BP
                                                                      RESPONSE
                                                                      TIME SHEET
Name: Donald R. Pearson                             Billing Period:         08/02 – 08/08

Paykey Code: ZKRAUMD252                             Response: Deepwater Horizon

   Date        Start    End      Total                       Location/Activity
               Time     Time     Hours
 08/02        6:00am   6:00pm   12       HOME TO PENSACOLA BRANCH 1              118 MILES
 08/03        6:00am   6:00pm   12       HOME TO PERDIDO KEY                     124 MILES
 08/04        6:00am   6:00pm   12       MOBILE COMMAND CENTER                    46 MILES
  08/05       6:00AM   6:00PM   12       MOBILE COMMAND CENTER                    46 MILES
  08/06       6:00am   6:00pm   12       HOME TO DESTIN TRAVELING
  08/07       6:00am   6:00pm   12       FLORIDA OKALOOSA AND WALTON COUNTIES
  08/08       6:00am   6:00pm   12       DESTIN TO PENSACOLA BEACH               382 MILES


                                         TOTAL MILES = 716




 Signature:                                                         Date:
                                                                                      EXHIBIT 1
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                                RESPONSE MANAGEMENT
                                 TEAMING AGREEMENT

This Agreement is between O’Brien’s Response Management Inc. (O’Brien’s RM) (referred to
collectively as Company), and Paul Hamilton (referred to as Contractor). In consideration of the mutual
benefits derived herefrom, the parties, intending to be legally bound, covenant and agree as follows.

Company is principally engaged in the business of providing emergency preparedness and response
management services to its clients. Company wishes to utilize Contractor to assist Company in providing
these services, and Contractor agrees to support the Company, under the terms and conditions herein
provided. Such services include, but are not limited to, staffing of Incident Command System positions at
selected emergency events, conducting training courses, participating in and/or facilitating exercises and
other similar consulting services as mutually agreed to by both parties. Contractor understands that
Company is not obligated to request Contractor’s services and Company understands that Contractor may
refuse Company’s request for services, if Contractor is not available.

Remuneration for services rendered as part of this Agreement will be at a rate of $ TBD per hour/day for
consulting plus reasonable out-of-pocket expenses, and/or $500.00 per day for responses plus reasonable
out of pocket expenses. Rates may be changed annually upon 30 days written notice. Contractor will
invoice Company within 10 days of project completion and will include receipts for all expenses.
Company will provide all billing to the client and distribute to Contractor upon receipt of fees and
expenses from the client. Company will provide general liability insurance as required by the client and
Contractor will provide workers compensation insurance for its employees. Contractor will be
responsible for all wages, salaries and benefits of its employees.

Contractor agrees that any proprietary and confidential information that results from all work covered by
this agreement will be held in strict confidence for at least five years beyond the termination of this
Agreement and may not be used for any purpose other than fulfillment of Contractor’s responsibilities.
Contractor also agrees not to solicit or sell services substantially similar to that provided by Company to
Company’s clients for the term of this agreement and for a period of one year thereafter.

This Agreement is a continuing (evergreen) commitment with no set termination. It does not bind either
party to a joint venture, partnership, or any other type of formal business entity. It also does not make
either party an employee of the other. For the sake of good order, Contractor will keep Company
apprised of information needed for maintaining Contractor’s Statement of Qualifications. Either party
may terminate this Agreement with at least 60 days prior written notice to the other party.


COMPANY:                                                 CONTRACTOR:

By: _______________________________                      By: _______________________________

Name:                                                    Name: _____________________________

Title:                                                   Title: ______________________________

Company: O’Brien’s Response Management Inc.              Company: __________________________

Date: ______________________________                     Date: ______________________________




                                                                                              EXHIBIT 2
Teaming Agreement                                                                               March 2009
